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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                             Plaintiff,     )       CAUSE NO. 1:15-cv-020-WTL-DML
                                            )
              vs.                           )
                                            )
MARWOOD LOW COST PHARMACY,                  )
                                            )
                             Defendant.     )

                                            ORDER

       The Parties, Marwood Low Cost Pharmacy and the United States of America, have

tendered a Consent Judgment and the United States has tendered an agreed motion for entry of

judgment in this matter. In the Consent Judgment, the Defendant waived service of the

Complaint and Summons in this action and consented to the jurisdiction of this Court. Having

reviewed the motion and being duly advised, the Court hereby GRANTS the motion. Judgment

will be entered against the Defendant by pursuant to Federal Rule of Civil Procedure 58.



       APPROVED AND SO ORDERED this 4th day of March, 2015.



                                                    _________________________________
                                                    Judge, United States District Court
                                                       _______________________________
                                                    Southern District of Indiana
                                                        Hon. William T. Lawrence, Judge
                                                        United States District Court
                                                        Southern District of Indiana




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